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          EXHIBIT J
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    MAAP-011247-DIE
    Power Amplifier, 2 W
    DC - 22 GHz                                                                                                                                       Preliminary - Rev. V2P

    Features                                                                                          Functional Schematic
     High Gain: 13 dB                                                                                         5                                        6
     P1dB: 30 dBm
                                                                                                             AUX                                      DET
     PSAT: 33 dBm
     Output IP3: +42 dBm
     Bias Voltage: VDD = 15 V
     Bias Current: IDSQ = 500 mA                                                                       4    N/C                                                           RFOUT/
                                                                                                                                                                            VDD       7
     50 Ω Matched Input / Output
                                                                                                                                                                            GND       8
     Temperature Compensated Output Power
      Detector                                                                                          3    N/C
     Die Size: 2.99 x 1.5 x 0.1 mm
     RoHS* Compliant
                                                                                                            GND




                                                                                                                                                                                          Preliminary Information
                                                                                                        2

    Description                                                                                         1    RFIN
    The MAAP-011247-DIE is a 2 W distributed power                                                     10   GND
                                                                                                                                                                            VG1
    amplifier offered as a bare die part. The power
                                                                                                                                                                              9
    amplifier operates from DC to 22 GHz and provides
    12 dB of linear gain and 33 dBm of saturated output
    power. The device is fully matched across the band
    and includes a temperature compensated output
    power detector                                                                                    Pin Configuration2

    The MAAP-011247-DIE can                          be used as a power                                 Pin No.          Pin Name                           Description
    amplifier stage or as a driver                   stage in higher power                                   1               RFIN                            RF Input
    applications. This device is                     ideally suited for test
    and measurement, EW,                               ECM, and radar                                        2               GND                              Ground
    applications.
                                                                                                             3                N/C                        No connection
    This product is fabricated using a GaAs pHEMT                                                            4                N/C                        No connection
    process which features full passivation for enhanced
    reliability.                                                                                             5               AUX                              Auxiliary

                                                                                                             6               DET                        Power detector

    Ordering Information                                                                                     7           RFOUT/VDD               RF output / drain voltage

                                                                                                             8               GND                              Ground
               Part Number                                  Package
                                                                                                             9                VG1                           Gate voltage
        MAAP-011247-DIEPPR                                   Gel Pak1
                                                                                                            10               GND                              Ground
        MAAP-011247-SMBPPR                               Sample Board

    1. Die quantity varies                                                                            2. Backside of die must be connected to RF, DC and thermal
                                                                                                         ground.




     *Restrictions on Hazardous Substances, European Union Directive 2011/65/EU.
1
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    MAAP-011247-DIE
    Power Amplifier, 2 W
    DC - 22 GHz                                                                                                                                       Preliminary - Rev. V2P
    Electrical Specifications: TA = +25°C, VDD = 15 V, IDSQ3 = 500 mA, Z0 = 50 Ω
                 Parameter                                           Test Conditions                                    Units            Min.               Typ.           Max.
                                                                             2 GHz                                                                          12.0
                                                                             12 GHz                                                                         12.5
                      Gain                                                                                                dB               —                                 —
                                                                             18 GHz                                                                         13.0
                                                                             22 GHz                                                                         13.0
                                                                           2 GHz                                                                            34.5
                                                                           12 GHz                                                                           34.5
                      PSAT                                                 18 GHz                                        dBm               —                33.0             —
                                                                                  4
                                                                          22 GHz                                                                            30.5
                                                                       PIN = +23 dBm
                                                                             2 GHz                                                                          31.5
                                                                             12 GHz                                                                         32.0




                                                                                                                                                                                        Preliminary Information
                      P1dB                                                                                               dBm               —                                 —
                                                                             18 GHz                                                                         30.0
                                                                             22 GHz                                                                         29.5
                                                                   2 GHz                                                                                    45.5
                                                                   12 GHz                                                                                   45.5
                      OIP3                                         18 GHz                                                dBm               —                42.0             —
                                                                   22 GHz                                                                                   41.0
                                                  PIN = +20 dBm/tone (10 MHz Tone Spacing)
                                                                            2 GHz                                                                           23.0
                                                                           12 GHz                                                                           20.0
                      PAE                                                  18 GHz                                         %                —                18.5             —
                                                                           22 GHz                                                                           13.5
                                                                       PIN = + 23 dBm
             Input Return Loss                                          PIN = -20 dBm                                     dB               —                 15              —
           Output Return Loss                                           PIN = -20 dBm                                     dB               —                 15              —
            IDD (with RF drive)                                         PIN = +23 dBm                                    mA                —                600              —
                        IG1                                                     —                                        mA                —                  8              —
    3. Set IDSQ according to bias procedures in page 4.
    4. PIN = 20 dBm to maintain 3 dB or less of compression.


    Maximum Operating Ratings                                                                         Absolute Maximum Ratings7,8
                 Parameter                                    Rating                                               Parameter                           Absolute Maximum
                Input Power                                   23 dBm                                              Input Power                                   28 dBm
                                       5,6
       Junction Temperature                                   +150°C                                             Drain Voltage                                    +16 V
        Operating Temperature                           -40°C to +85°C                                           Gate Voltage                                  -5 to 0 V
                                                                                                                                          9
    5. Operating at nominal conditions with junction temperature                                           Junction Temperature                                 +175°C
       ≤ +150°C will ensure MTTF > 1 x 106 hours.
                                                                                                           Storage Temperature                           -65°C to +125°C
    6. Junction Temperature (TJ) = TC + ӨJC * ((V * I) - (POUT - PIN))
       Typical thermal resistance (ӨJC) = 6.5 °C/W.                                                   7. Exceeding any one or combination of these limits may cause
       a) For TC = +85°C,                                                                                permanent damage to this device.
       TJ = +134 °C @ 15 V, 0.62 A, POUT = 33 dBm, PIN = 23 dBm                                       8. MACOM does not recommend sustained operation near these
                                                                                                         survivability limits.
                                                                                                      9. Junction temperature directly effects device MTTF. Junction
                                                                                                         temperature should be kept as low as possible to maximize
                                                                                                         lifetime.
2
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    MAAP-011247-DIE
    Power Amplifier, 2 W
    DC - 22 GHz                                                                                                                                       Preliminary - Rev. V2P

    Application Schematic
                                                                                                      Handling Procedures
                             AUX               DET
                        C1                                                        VDD                 Please observe the following precautions to avoid
                                                                                                      damage:
                 AUX                           DET


                                                                                                      Static Sensitivity
                                                                  RFOUT/                   RFOUT
                 N/C
                                                                   VDD                                These electronic devices are sensitive to
                                                                   GND
                                                                                External
                                                                                                      electrostatic discharge (ESD) and can be damaged
                 N/C                                                             Bias-T               by static electricity. Proper ESD control techniques
                                                                                                      should be used when handling these HBM Class 1A
                 GND
                                                                                                      devices.
     RFIN
                 RFIN




                                                                                                                                                                                      Preliminary Information
                 GND
                                                                    VG1
                                                                                                      Recommended PCB Information
                                                            VG1
                                                                           C2                         RF input and output are 50 Ω transmission lines.
                                                                                                      Single layer 8 mil Rogers RO4008 with 1/2 oz. Cu.
                                                                                                      Use copper filled vias under ground paddle.
    Bill of Materials10,11,12
         Part                Value             Size                  Comment                          Grounding
                                                                                                      It is recommended that the total ground (common
       C1, C2                1 µF              0402                        bypass                     mode) inductance not exceed 0.03 nH (30 pH). This
                                                                                                      is equivalent to placing at least four 8-mil (200-μm)
    10. C1 & C2 are required for operation below 1 GHz.
    11. High power external bias tee was used for measurements.
                                                                                                      diameter vias under the device, assuming an 8-mil
    12. External DC block was used on input.                                                          (200-μm) thick RF layer to ground.



    Biasing Conditions                                                                                Operating the MAAP-011247
    Recommended biasing conditions are VDD = 15 V,                                                    Turn-on
    IDSQ = 500 mA (controlled with VG1).                                                                           1. Apply VG1 (-4.5 V).
                                                                                                                   2. Increase VDD to 15 V.
    VDD Bias must be applied through a resonant free                                                               3. Set IDSQ by adjusting VG1 more positive
    high inductance on the RF output line.                                                                            (typically -3.4 V for IDSQ = 500 mA).
                                                                                                                   4. Apply RFIN signal.
    By-pass capacitor C1 for the auxiliary pad is for a
    low frequency operation extension (below 1 GHz).                                                  Turn-off
                                                                                                                   1. Remove RFIN signal.
                                                                                                                   2. Decrease VG1 to -4.5 V.
                                                                                                                   3. Decrease VDD to 0 V.




3
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    MAAP-011247-DIE
    Power Amplifier, 2 W
    DC - 22 GHz                                                                                                                                       Preliminary - Rev. V2P

    PCB Layout:
    RF input and output port pre-matching circuit patterns are designed to compensate bonding
    wires. Input and output matching are identical.

                                           250                                              3500
                                          200




                                                                                                                                                                                      Preliminary Information
                         250
                        200
                       210




                                                                                    AUX                DET




                                                                                                                                                               3000
                                                                                                      RF OUT


                                                                                     RFIN
                                                                                                         VG1




                                                                         All units are in microns.




                             Input Match                                                                                           Output Match
4
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    MAAP-011247-DIE
    Power Amplifier, 2 W
    DC - 22 GHz                                                                                                                                       Preliminary - Rev. V2P
    Typical Performance Curves VDD = 15 V, IDSQ = 500 mA, VG1 = -3.4 V typical
      S Parameters                                                                                      Gain
                         30                                                                                                 20


                         20
                                                                                                                            15
    S21, S11, S22 (dB)




                         10




                                                                                                       S21 (dB)
                                                                     S21
                                                                     S11                                                    10
                          0                                          S22


                         -10                                                                                                                                           +25°C
                                                                                                                             5                                         -40°C
                                                                                                                                                                       +85°C
                         -20




                                                                                                                                                                                           Preliminary Information
                         -30                                                                                                 0
                               0     5     10           15            20            25                                            0   5     10            15           20           25

                                          Frequency (GHz)                                                                                 Frequency (GHz)


       Input Return Loss                                                                                 Output Return Loss
                           0                                                                                                  0

                                                                    +25°C                                                                                             +25°C
                          -5                                        -40°C                                                    -5                                       -40°C
                                                                    +85°C                                                                                             +85°C

                         -10                                                                                                -10
     S11 (dB)




                                                                                                        S22 (dB)




                         -15                                                                                                -15


                         -20                                                                                                -20


                         -25                                                                                                -25


                         -30                                                                                                -30
                               0     5     10            15            20            25                                           0   5      10            15           20           25
                                          Frequency (GHz)                                                                                 Frequency (GHz)
       Isolation                                                                                         S Parameters @ Low Frequency
                           0                                                                                                30


                                                                                                                            20
                         -20
                                                                                                       S21, S11, S22 (dB)




                                                                                                                            10
     S12 (dB)




                                                                                                                                                                      S21
                                                                                                                                                                      S11
                         -40                                                                                                 0                                        S22


                                                                                                                            -10
                         -60                                                +25°C
                                                                            -40°C
                                                                            +85°C                                           -20


                         -80                                                                                                -30
                               0     5     10            15            20            25                                           0   2      4             6            8           10
                                          Frequency (GHz)                                                                                 Frequency (MHz)
5
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    MAAP-011247-DIE
    Power Amplifier, 2 W
    DC - 22 GHz                                                                                                                                       Preliminary - Rev. V2P
    Typical Performance Curves VDD = 15 V, IDSQ = 500 mA, VG1 = -3.4 V typical
      Noise Figure                                                                                     P1dB over Temperature
                          10                                                                                        40

                                                                                                                                                                            +25°C
                           8                                                                                                                                                -40°C
                                                                                                                    35                                                      +85°C
     Noise Figure (dB)




                                                                                                       P1dB (dBm)
                           6
                                                                                                                    30
                           4

                                                                                                                    25
                           2




                                                                                                                                                                                             Preliminary Information
                           0                                                                                        20
                                0     5        10        15           20            25                                   0          5         10          15               20         25
                                              Frequency (GHz)                                                                                Frequency (GHz)

      PSAT over Temperature                                                                             Output IP3 vs. POUT / Tone
                          40                                                                                        60
                                                                                                                                   2 GHz
                                                                                                                                   12 GHz
                                                                                                                                   22 GHz
                          35                                                                                        50
                                                                                                       OIP3 (dBm)
    PSAT (dBm)




                          30                                                                                        40


                                                                       +25°C
                          25                                           -40°C                                        30
                                                                       +85°C



                          20                                                                                        20
                                0     5        10        15           20            25                                   10   12        14   16    18       20        22        24    26
                                              Frequency (GHz)                                                                           Output Power (dBm) / Tone

      2nd Harmonic
                           0
                                     14 dBm
                                     18 dBm
                          -10        22 dBm
     2nd Harmonic (dBc)




                          -20


                          -30


                          -40


                          -50


                          -60
                                0     5        10        15           20            25
                                              Frequency (GHz)
6
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    MAAP-011247-DIE
    Power Amplifier, 2 W
    DC - 22 GHz                                                                                                                                                         Preliminary - Rev. V2P
    Typical Performance Curves VDD = 15 V, IDSQ = 500 mA, VG1 = -3.4 V typical

      Power Compression @ 2 GHz                                                                          Power Compression @ 12 GHz
                                     35                                                                                                 35




                                                                                                       POUT (dBm), Gain (dB), PAE (%)
    POUT (dBm), Gain (dB), PAE (%)




                                                Pout                                                                                              Pout
                                     30         Gain
                                                                                                                                        30        Gain
                                                PAE                                                                                               PAE
                                     25                                                                                                 25

                                     20                                                                                                 20

                                     15                                                                                                 15

                                     10                                                                                                 10




                                                                                                                                                                                                     Preliminary Information
                                      5                                                                                                  5

                                      0                                                                                                  0
                                          0     5        10        15      20       25                                                        0   5              10        15      20          25
                                                       Input Power (dBm)                                                                                       Input Power (dBm)


       Power Compression @ 22 GHz                                                                        Current
                                     35                                                                                                 1.0
    POUT (dBm), Gain (dB), PAE (%)




                                                Pout                                                                                                  2 GHz
                                     30         Gain                                                                                                  12 GHz
                                                PAE                                                                                     0.8           22 GHz

                                     25
                                                                                                           Current (mA)




                                                                                                                                        0.6
                                     20

                                     15
                                                                                                                                        0.4

                                     10
                                                                                                                                        0.2
                                      5

                                      0                                                                                                 0.0
                                          0     5        10        15      20       25                                                        0   5              10        15      20          25
                                                       Input Power (dBm)                                                                                       Input Power (dBm)




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    MAAP-011247-DIE
    Power Amplifier, 2 W
    DC - 22 GHz                                                                                                                                       Preliminary - Rev. V2P

    MMIC Die Outline




                                                                                                                                                                                      Preliminary Information
     Bond Pad Detail                                                                                  Notes:
                                                                                                      13. All units in µm, unless otherwise noted, with a
               Pad                       Size (x)                    Size (y)                             tolerance of ±5 µm.
                                                                                                      14. Die thickness is 100 ±10 µm.
               1, 8                          81                         141

            2, 9, 11                         81                          91

         3, 4, 5, 6, 10                      93                          93

                 7                          118                          93




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    MAAP-011247-DIE
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    DC - 22 GHz                                                                                                                                       Preliminary - Rev. V2P




                                                                                                                                                                                      Preliminary Information
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